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                          Case 18-15481-jkf              Doc 34-5 Filed 06/15/20 Entered 06/15/20 11:14:58   Desc
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    Elaine Tripodi                                           05/19/20 12:55 PM EDT
                                                             OMJJ-OXKP-Q6JP-7YKQ




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                                                                                     Kayla Savage             05/18/20 4:25 PM EDT
                                                                                                              ILCK-O4HL-RPFS-4MDJ




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                                                                                     Crystal Savage           05/18/20 7:55 PM EDT
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                                                                                     Trina Walker-Savage     05/18/20 3:56 PM EDT
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    Stacey Murphy                                            05/18/20 7:52 PM EDT
                                                             IJYE-SG4Q-ZQU7-P5BB
                                                                                     Cheryl Lucas            05/18/20 4:08 PM EDT
                                                                                                             0VHQ-SPTB-AYPM-HGEL




                                      Stacey Murphy
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         Trina Walker-Savage                                                       Kayla Savage

         Crystal Savage                                                            Trina Walker-Savage

                                         1523 Seybert, Philadelphia, PA 19121




         Elaine Tripodi



                                          332 E.Olive street, Westville NJ 08093




                                    332 East Olive Street, Westville, NJ 08093

                                                                                                                         Gloucester

                      91                                 5



                                                                                                                                   165,000
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                      Connection Title                                        05/20/2020




                                                          Connection Title




                                   165,000




                                                         06/19/2020




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                          Case 18-15481-jkf              Doc 34-5 Filed 06/15/20 Entered 06/15/20 11:14:58                 Desc
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        all personal property




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                          Case 18-15481-jkf              Doc 34-5 Filed 06/15/20 Entered 06/15/20 11:14:58              Desc
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              Single




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                          Case 18-15481-jkf              Doc 34-5 Filed 06/15/20 Entered 06/15/20 11:14:58                  Desc
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                          Case 18-15481-jkf              Doc 34-5 Filed 06/15/20 Entered 06/15/20 11:14:58              Desc
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                          Case 18-15481-jkf              Doc 34-5 Filed 06/15/20 Entered 06/15/20 11:14:58              Desc
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               ReMax Community
                          Cheryl Lucas




                                                                                                                 Stacey Murphy
        RE/MAX Connection Realtors




        RE/MAX Connection Realtors                                          0017691


        Stacey Murphy                                                      1434839


        28 N.Maple Ave, Marlton, NJ 08053

        856-534-7100                                                                              8565347100


        njrealtygirl@gmail.com                                       3%

         ReMax Community                                                   NJ - 9035472, PA - RM422117


        Cheryl Lucas                                                        9702182

        100 Black Horse Pike Ste 200D Williamstown, NJ 08094

                                                                                                  6092213732



        Cheryllucasrealtor@gmail.com                                 3%




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                          Case 18-15481-jkf              Doc 34-5 Filed 06/15/20 Entered 06/15/20 11:14:58              Desc
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         " AS IS" no repairs by the seller

         $5,000 Seller Concession




                                                         dotloop verified                                                                dotloop verified
                          Cheryl Lucas                   05/18/20 4:08 PM EDT
                                                         7HRO-2ZMM-JBCR-QMML
                                                                                Trina Walker-Savage                                      05/18/20 3:56 PM EDT
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         Cheryl Lucas                                       05/18/20 4:08 PM
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         Cheryl Lucas                                    05/18/20 4:08 PM EDT
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                                                                                Crystal Savage                                             05/18/20 7:55 PM EDT
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